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 8                            UNITED STATES DISTRICT COURT

 9                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

10 UNITED STATES OF AMERICA,                   No. CR 24-236(A)-SPG

11              Plaintiff,                     ORDER CONTINUING TRIAL DATE AND
                                               FINDINGS REGARDING EXCLUDABLE
12              v.                             TIME PERIODS PURSUANT TO SPEEDY
                                               TRIAL ACT
13
      JASVEEN SANGHA,                          PROPOSED TRIAL DATE:         08/19/25
14      aka “the Ketamine Queen,” and          PROPOSED PTC DATE:           08/06/25
      SALVADOR PLASENCIA,
15      aka “Dr. P.,”

16               Defendants.

17

18         The Court has read and considered the Stipulation Regarding
19    Request for (1) Continuance of Trial Date and (2) Findings of
20    Excludable Time Periods Pursuant to Speedy Trial Act, filed by the
21    parties in this matter.      The Court hereby finds that the
22    Stipulation, which this Court incorporates by reference into this
23    Order, demonstrates facts that support a continuance of the trial
24    date in this matter, and provides good cause for a finding of
25    excludable time pursuant to the Speedy Trial Act, 18 U.S.C. § 3161.
26         The Court further finds that:        (i) the ends of justice served
27    by the continuance outweigh the best interest of the public and
28    defendant in a speedy trial; (ii) failure to grant the continuance
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 1    would be likely to make a continuation of the proceeding impossible,

 2    or result in a miscarriage of justice; and (iii) failure to grant

 3    the continuance would unreasonably deny defendant continuity of

 4    counsel and would deny defense counsel the reasonable time necessary

 5    for effective preparation, taking into account the exercise of due

 6    diligence.

 7         THEREFORE, FOR GOOD CAUSE SHOWN:

 8         1.      The joint trial in this matter is continued from March 4,

 9    2025 to August 19, 2025 for both defendants.

10         2.      The time period from the date the stipulation was filed

11    February 4, 2025 to August 19, 2025, inclusive, is excluded in

12    computing the time within which the trial must commence, pursuant to

13    18 U.S.C. §§ 3161(h)(7)(A), (h)(7)(B)(i), and (B)(iv).

14         3.      The pretrial hearing is continued to August 6, 2025 at

15    9:30 a.m., and the hearing schedule for motions to be heard at the

16    pretrial conference is continued as follows: any pretrial motions

17    shall be filed by July 9, 2025, any oppositions or responses shall

18    be filed by July 23, 2025, and any replies shall be filed by July

19    30, 2025.

20         4.      Defendant PLASENCIA shall appear in Courtroom 5C of the

21    Federal Courthouse, 350 W. 1st Street, Los Angeles, California on

22    August 19, 2025 at 8:30 a.m. for trial, and on August 6, 2025 at

23    9:30 for the pretrial conference.

24         5.      Nothing in this Order shall preclude a finding that other

25    provisions of the Speedy Trial Act dictate that additional time

26    periods are excluded from the period within which trial must

27    commence.    Moreover, the same provisions and/or other provisions of

28
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